         19-01294-scc        Doc 66     Filed 03/06/20 Entered 03/07/20 00:16:04                    Imaged
                                       Certificate of Notice Pg 1 of 3
                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF NEW YORK
                                               One Bowling Green
                                            New York, NY 10004−1408


IN RE: Gil−White v. Ercil et al                             CASE NO.: 19−01294−scc

Social Security/Taxpayer ID/Employer ID/Other Nos.:         CHAPTER: 0




                                           NOTICE OF HEARING



Please take notice that a status conference will be held in the above captioned case on March 9, 2020 at 10:00 a.m. in
courtroom 623.

Thank you



Dated: March 4, 2020                                         Vito Genna
                                                             Clerk of the Court
               19-01294-scc           Doc 66      Filed 03/06/20 Entered 03/07/20 00:16:04                          Imaged
                                                 Certificate of Notice Pg 2 of 3
                                               United States Bankruptcy Court
                                               Southern District of New York
Gil-White,
         Plaintiff                                                                                Adv. Proc. No. 19-01294-scc
Ercil,
              Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0208-1                  User:                              Page 1 of 2                          Date Rcvd: Mar 04, 2020
                                      Form ID: 143                       Total Noticed: 6


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 06, 2020.
smg             N.Y. State Unemployment Insurance Fund,    P.O. Box 551,   Albany, NY 12201-0551
smg             New York City Dept. Of Finance,    345 Adams Street, 3rd Floor,
                 Attn: Legal Affairs - Devora Cohn,    Brooklyn, NY 11201-3719
smg            +United States Attorney’s Office,    Southern District of New York,
                 Attention: Tax & Bankruptcy Unit,    86 Chambers Street, Third Floor,   New York, NY 10007-1825
3pp             Gonzalo Gil-White,   Javier Barros Sierra 540,    Office 103, Park Plaza Torre 1,
                 Col. Santa Fe, Alvaro Obregon Delegation,    Mexico City,   MEXICO

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Mar 04 2020 19:47:24
                 New York State Tax Commission,   Bankruptcy/Special Procedures Section,   P.O. Box 5300,
                 Albany, NY 12205-0300
ust            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Mar 04 2020 19:47:10     United States Trustee,
                 Office of the United States Trustee,   U.S. Federal Office Building,
                 201 Varick Street, Room 1006,   New York, NY 10014-7016
                                                                                            TOTAL: 2

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
dft               AMA Capital Partners, LLC
dft               Ad Hoc Defendants
dft               Alp Ercil
dft               Alterna Capital Partners, LLC
dft               Andres Constantin Antonius-Gonzlez
dft               Asia Research And Capital Management Ltd.
dft               CQS (Uk) LLP
unk               Clerk’s Office of the U.S. Bankruptcy Court
dft               Deutsche Bank Mexico, S.A.
dft               Does 1-100
dft               Fintech Advisory, Inc.
dft               Foreign Defendants
dft               GHL Investments (Europe) Ltd.
dft               Garcia Gonzalez Y Barradas Abogados, S.C.
pla               Gonzalo Gil-White
dft               Institucion De Banca Multiple
dft               John Fredriksen
intp              Jose Gerardo Badin
dft               Kristan Bodden
dft               Maritime Finance Company Ltd.
dft               Noel Blair Hunter Cochrane, Jr
dft               Oro Negro Decus Pte., Ltd.
dft               Oro Negro Fortius Pte., Ltd.
dft               Oro Negro Impetus Pte., Ltd.
dft               Oro Negro Laurus Pte., Ltd.
dft               Oro Negro Primus Pte., Ltd.
dft               Paul Matison Leand, Jr.
dft               Roger Alan Bartlett
dft               Roger Arnold Hancock
dft               Seadrill Limited
dft               Ship Finance International Ltd.
                                                                                                                   TOTALS: 31, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 06, 2020                                             Signature: /s/Joseph Speetjens
            19-01294-scc      Doc 66    Filed 03/06/20 Entered 03/07/20 00:16:04            Imaged
                                       Certificate of Notice Pg 3 of 3


District/off: 0208-1          User:                       Page 2 of 2                  Date Rcvd: Mar 04, 2020
                              Form ID: 143                Total Noticed: 6

_


                              CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 4, 2020 at the address(es) listed below:
              Eric J. Snyder    on behalf of Defendant    Seadrill Limited esnyder@wilkauslander.com,
               jstauder@wilkauslander.com
              Eric J. Snyder    on behalf of Defendant    Fintech Advisory, Inc. esnyder@wilkauslander.com,
               jstauder@wilkauslander.com
              Gabriel Fernando Soledad    on behalf of Plaintiff Gonzalo Gil-White
               gabrielsoledad@quinnemanuel.com, gabbytrevino@quinnemanuel.com
              George A. Zimmerman    on behalf of Defendant John Fredriksen george.zimmerman@skadden.com
              Israel Dahan     on behalf of Defendant   Deutsche Bank Mexico, S.A. idahan@kslaw.com,
               jcmccullough@kslaw.com,laaronson@kslaw.com
              Jay B. Kasner    on behalf of Defendant John Fredriksen jay.kasner@skadden.com
              Scott C. Shelley    on behalf of Plaintiff Gonzalo Gil-White scottshelley@quinnemanuel.com
              Scott D. Musoff    on behalf of Defendant John Fredriksen scott.musoff@skadden.com,
               paris.abell@skadden.com;jason.skorupka@skadden.com
              Shmuel Vasser     on behalf of Defendant    Oro Negro Impetus Pte., Ltd. shmuel.vasser@dechert.com,
               nycmanagingclerks@dechert.com,brett.stone@dechert.com
              Shmuel Vasser     on behalf of Defendant    Oro Negro Decus Pte., Ltd. shmuel.vasser@dechert.com,
               nycmanagingclerks@dechert.com,brett.stone@dechert.com
              Shmuel Vasser     on behalf of Defendant Roger Arnold Hancock shmuel.vasser@dechert.com,
               nycmanagingclerks@dechert.com,brett.stone@dechert.com
              Shmuel Vasser     on behalf of Defendant    Oro Negro Primus Pte., Ltd. shmuel.vasser@dechert.com,
               nycmanagingclerks@dechert.com,brett.stone@dechert.com
              Shmuel Vasser     on behalf of Defendant    Oro Negro Fortius Pte., Ltd. shmuel.vasser@dechert.com,
               nycmanagingclerks@dechert.com,brett.stone@dechert.com
              Shmuel Vasser     on behalf of Defendant Roger Alan Bartlett shmuel.vasser@dechert.com,
               nycmanagingclerks@dechert.com,brett.stone@dechert.com
              Shmuel Vasser     on behalf of Defendant    Oro Negro Laurus Pte., Ltd. shmuel.vasser@dechert.com,
               nycmanagingclerks@dechert.com,brett.stone@dechert.com
              Shmuel Vasser     on behalf of Defendant Noel Blair Hunter Cochrane, Jr shmuel.vasser@dechert.com,
               nycmanagingclerks@dechert.com,brett.stone@dechert.com
              William Clareman     on behalf of Defendant    Ad Hoc Defendants wclareman@paulweiss.com
              William Clareman     on behalf of Defendant    Foreign Defendants wclareman@paulweiss.com
                                                                                              TOTAL: 18
